Case 2:02-Cr-20165-BBD Document 597 Filed 08/09/05 Page 1 of 4 Page|D 822

lN THE UNITED STATES DISTRICT COUR

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FoR THE wEsTERN DISTRICT 0F TENNESSE "“ED 'N 0 EN COURT

WESTERN DIVISION DATE: ‘3' q '3“0 '<35'
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UNITED STATES 0F AMERICA, TlME q _....___.._(.’._.__.._
lNlTlALS: j »_4;-
Plainu'ff,
V- criminal No. 02-20165-BBD

SHERRIE-LEE DOREEN CAVE, et al.,

Defendants.

 

ORDER DISMISSING INDICTMENT
AS TO SHERRIE-LEE DOREEN CAVE

 

Pursua.nt to the plea agreement of the parties, the oral motion of the United States of
America, and for good cause shown, it is hereby ORDERED that this case is dismissed as to the

defendant Sherrie-Lee Doreen Cave.

Entered this g "w\day of August, 2005.

    

H¢'N'oRABLE B RNICE BOUIE DONAL\D
U ited States District Judge

This document entered on the docket sheet 1 co i ce
Wfth F\ule 55 and/or 32(b) FFlCrP on

Case 2:02-Cr-20165-BBD Document 597 Filed 08/09/05 Page 2 of 4 Page|D 823

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Notice of Distribution

This notice confirms a copy of the document docketed as number 597 in
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